Case 2:04-cr-20481-SH|\/| Document 24 Filed 07/14/05 Page 1 of 2 Page|D 32

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IN THE UNITED STATES DISTRICT COU'RT

FoR THE wEsTERN DISTRICT oF TENNESSE “: 03
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20481#Ma

VS.

MARCUS BUFORD,

\_/-__/~._/\_/~._/~__/~_/~__/~__/

Defendant.

 

OR.DER ON CONTINUANCE AND SPECIF'YING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 24 in
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Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

